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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:17CR347

       vs.
                                                                        ORDER
JOSEPH LANCKRIET,

                       Defendant.


       This matter is before the court on defendant's UNOPPOSED MOTION TO EXTEND
TIME TO FILE PRETRIAL MOTIONS [36]. For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 21-day extension. Pretrial
Motions shall be filed by April 2, 2018.


       IT IS ORDERED:
       1.      Defendant's UNOPPOSED MOTION TO EXTEND TIME TO FILE PRETRIAL
MOTIONS [36] is granted. Pretrial motions shall be filed on or before April 2, 2018.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between March 12, 2018 and April 2, 2018, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel required additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice.        18 U.S.C. §
3161(h)(7)(A) & (B).


       Dated this 13th day of March, 2018.

                                                     BY THE COURT:

                                                     s/ Michael D. Nelson
                                                     United States Magistrate Judge
